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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA,                       No. 4:17-CR-00403

           v.                                       (Judge Brann)

    RAYMOND KRAYNAK,

                Defendant.

                             MEMORANDUM OPINION

                                 AUGUST 10, 2021

        Currently pending before the Court is a motion in limine filed by Raymond

Kraynak in which he seeks to exclude any evidence related to: data from the

Pennsylvania Prescription Drug Monitoring Program; information regarding

prescription information from Anthem Blue Cross Blue Shield; pharmacy records;

information from Health Integrity, LLC; and certain nicknames for controlled

substances.1 For the following reasons, the motion will be granted in part and denied

in part.

I.      BACKGROUND

        In 2017, Kraynak was indicted on nineteen separate charges related to his

conduct as a physician who was licensed to prescribe Schedule II, III, IV, and V

controlled substances.2 In Counts 1 through 12, Kraynak is charged with unlawfully

distributing and dispensing a controlled substance to twelve different individuals, in

1
     Docs. 119, 120, 138.
2
     Doc. 3.
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violation of the Controlled Substances Act, 21 U.S.C. § 841(a)(1) and (b)(1)(C).3

Counts 13 through 17 allege unlawful distributing and dispensing of a controlled

substance resulting in death, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C).4

Finally, Counts 18 and 19 allege that Kraynak maintained two drug-involved

premises, in violation of 21 U.S.C. § 856(a)(1).5

       As alleged in the indictment, Kraynak is a Doctor of Osteopathy and, in that

capacity, he was previously disciplined by the Commonwealth of Pennsylvania

Department of State, Board of Osteopathic Medicine for allegedly failing to maintain

proper documentation to justify controlled substance prescriptions, and for failing to

take other appropriate actions with respect to those prescriptions.6 The Government

alleges that, from May 2012 until January 2016, Kraynak prescribed 3,622,598

oxycodone pills, which accounted for 80.62% of the controlled substances that he


3
    Id. at 15-17. The indictment alleges that Kraynak dispensed controlled substances as follows:
    Count 1—hydrocodone to R.C. from December 21, 2012 to May 2, 2015; Count 2—oxycodone
    to F.H. from December 21, 2012 to July 31, 2014; Count 3—oxycodone to D.H. from June
    2013 to February 17, 2015; Count 4—oxycodone to A.K. from December 21, 2012 to October
    24, 2013; Count 5—hydrocodone to M.L. from December 21, 2012 to October 15, 2014; Count
    6—oxycodone to C.S. from December 21, 2012 to April 29, 2014; Count 7—oxycodone to
    D.B. from January 2014 to October 5, 2014; Count 8—oxycodone to W.E. from December 21,
    2012 to December 14, 2014; Count 9—oxycodone to F.G. from December 21, 2012 to
    February 10, 2013; Count 10—oxycodone to T.M. from December 21, 2012 to April 28, 2014;
    Count 11—fentanyl to J.S. from January 2013 to July 6, 2016; and Count 12—oxycodone to
    R.W. from February 2013 to September 15, 2016.
4
    Id. at 18-19. The indictment alleges that Kraynak distributed controlled substances causing
    death as follows: Count 13—alprazolam, hydrocodone, and carisoprodol to R.C. on or about
    May 2, 2015; Count 14—oxycodone to D.H. on or about February 17, 2015; Count 15—
    oxycodone and alprazolam to A.K. on or about October 24, 2013; Count 16—temazepam,
    alprazolam, and hydrocodone to M.L. on or about October 15, 2014; and Count 17—
    oxycodone, carisoprodol, diazepam, and zolpidem to C.S. on or about April 29, 2014.
5
    Id. at 20-21.
6
    Id. at 1-3.
                                                 2
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prescribed during that period and that, from January 1, 2016 until July 31, 2017,

Kraynak “prescribed an aggregate of 2,792,490 dosage units of oxycodone,

hydrocodone, OxyContin[,] and fentanyl to approximately 2,838 patients,” which

“made Kraynak the top prescriber for all of the Commonwealth of Pennsylvania for

these controlled substance during this 19-month period of time.”7 These numbers

allegedly resulted from Kraynak’s practice of prescribing controlled substances

outside of the usual course of professional practice and without a legitimate medical

purpose.8

        The Government further avers that Kraynak’s medical records demonstrate

that his patient files were frequently “incomplete or missing and . . . failed to contain

the required information regarding symptoms observed and reported, diagnosis of

condition, direction for use, changes in symptoms observed and reported in their

diagnosis of the condition for which the controlled substance was being given and

in the directions given to the patient.”9 As a result of these facts, the Government

alleges that Kraynak did not issue prescriptions to certain individuals “for legitimate

medical purposes and in the usual course of professional practice” but, instead, acted

as a drug trafficker during those encounters.10




7
     Id. at 7-8.
8
     Id. at 13-15.
9
     Doc. 126 at 3.
10
     Id. at 2.
                                           3
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         Kraynak has now filed a motion in limine to exclude evidence that the

Government seeks to introduce at trial. Kraynak contends that this evidence is

extrinsic to the crimes charged and is not otherwise admissible under Federal Rule

of Evidence 404(b), as the evidence is offered only to demonstrate propensity.11 The

Government opposes Kraynak’s motion on the grounds that the evidence is intrinsic

to the charges and, in any event, is admissible under Rule 404(b).12

II.      DISCUSSION

         Motions in limine are threshold motions that courts will typically deny or defer

ruling upon until the time of trial (outside of the presence of the jury), unless the

evidence is clearly inadmissible. Such determinations are preliminary rulings that

are “subject to change when the case unfolds, particularly if the actual testimony

differs from what was contained in the defendant’s proffer.”13 Although the Federal

Rules of Evidence do not expressly acknowledge motions in limine or provide for

their use, “the practice has developed pursuant to the district court’s inherent

authority to manage the course of trials.”14

         A.      Whether the Evidence is Intrinsic to the Charges

         First, the parties dispute whether the challenged evidence is intrinsic or

extrinsic to the charges. The United States Court of Appeals for the Third Circuit



11
      Docs. 120, 138
12
      Docs. 131, 140.
13
      Luce v. United States, 469 U.S. 38, 41 (1984).
14
      Luce, 469 U.S. at 41 n.4.
                                                  4
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has explained that evidence is intrinsic to the charged crime under two

circumstances. “First, evidence is intrinsic if it ‘directly proves’ the charged

offense,” which “gives effect to Rule 404(b)’s applicability only to evidence of

‘other crimes, wrongs, or acts’” because “[i]f uncharged misconduct directly proves

the charged offense, it is not evidence of some ‘other’ crime.”15 “Second, uncharged

acts performed contemporaneously with the charged crime may be termed intrinsic

if they facilitate the commission of the charged crime.”16 As the Third Circuit has

explained, “the nature and scope of the evidence able to be deemed intrinsic will

vary with the charged offense.”17

        To prove that Kraynak committed the charged offenses, with respect to the

distribution charges alleged in Counts 1 through 12, the Government must prove

four things: (1) that Kraynak distributed a mixture or substance containing a

controlled substance; (2) that he distributed the controlled substance outside the

usual course of professional practice and not for a legitimate medical purpose; (3)

that he distributed the controlled substance while knowing or intending that the

distribution was outside the usual course of professional practice and not for a

legitimate medical purpose; and (4) that the controlled substance was the substance

identified in the indictment.18


15
     United States v. Green, 617 F.3d 233, 248-49 (3d Cir. 2010).
16
     Id. at 249 (internal quotation marks omitted).
17
     United States v. Williams, 974 F.3d 320, 357 (3d Cir. 2020).
18
     Third Cir. Model Crim. Jury Instruction 6.21.841B; United States v. Rottschaefer, 178 F.
     App’x 145, 147 (3d Cir. 2006). See also 21 C.F.R. § 1306.04(a) (noting that “[a] prescription
                                                  5
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        As to Counts 13 through 17, alleging distribution of a controlled substance

resulting in death, the elements are the same as those listed above, except that Counts

13 through 17 contain the additional element that death must have resulted from the

use of those controlled substances.19 Finally, with respect to Counts 18 and 19, the

Government must prove that Kraynak “‘(1) knowingly exercise[ed] some degree of

control over the premises; (2) knowingly ma[de] the place available for the use

alleged in the indictment; and (3) continuity in pursuing the manufacture,

distribution, or use of controlled substances.’”20 Based on these requirements, the

Court concludes that, with one exception, the challenged evidence is intrinsic or

otherwise admissible.

                i.      Administrative Actions

        First, as to evidence of two prior administrative actions against Kraynak

related to his prescription practices, that evidence is directly relevant to the charged

offenses. In 2012, the Commonwealth of Pennsylvania, Bureau of Professional and


     for a controlled substance to be effective must be issued for a legitimate medical purpose by
     an individual practitioner acting in the usual course of his professional practice . . . [and a]n
     order purporting to be a prescription issued not in the usual course of professional treatment .
     . . is not a prescription within the meaning and intent of section 309 of the Act (21 U.S.C. 829)
     and the person knowingly filling such a purported prescription, as well as the person issuing
     it, shall be subject to the penalties provided for violations of the provisions of law relating to
     controlled substances”)
19
     Burrage v. United States, 571 U.S. 204, 210 (2014).
20
     United States v. Elmore, 586 F. App’x 559, 561 (11th Cir. 2014) (quoting United States v.
     Clavis, 956 F.2d 1079, 1090 (11th Cir. 1992))). As is clear from the language of 21 C.F.R. §
     1306.04(a), and as discussed with respect to the other charges against Kraynak, to have
     maintained the premises for the pursuit of the distribution of controlled substances, any
     prescriptions issued from those premises must have been outside the usual course of
     professional practice and not for a legitimate medical purpose.
                                                    6
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Occupational Affairs entered into a consent agreement—following allegations that

Kraynak’s controlled substance prescription behavior was deficient in several

respects—with Kraynak wherein he admitted no wrongdoing but agreed that he had

failed to conform to the relevant medical practices regarding the issuance of

prescriptions for controlled substances.21 Kraynak further agreed to: undergo an

intensive course on controlled substance management; issue controlled substance

contracts for his patients; and engage a professional office management company to

review his documentation practices.22 Thereafter, administrative action was again

taken against Kraynak for allegedly failing to conform to prevailing medical

standards for prescribing controlled substances; the Commonwealth of Pennsylvania

ultimately concluded that Kraynak failed to annotate relevant information into

patient medical records, and Kraynak was ordered to complete six hours of remedial

continuing medical education related to patient medical documentation.23

        This evidence is intrinsic to the charges against Kraynak, as it demonstrates

that Kraynak had specific knowledge of the medical standards that are applicable to

patient records and prescription practices. As noted above, a key element of all

charges against Kraynak is the requirement that his conduct in issuing prescriptions

must have been outside the usual course of professional practice and not for a




21
     Doc. 136-1 at 8-9.
22
     Id.
23
     Id. at 9-11.
                                          7
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legitimate medical purpose.24 As the Government’s expert witness has previously

explained, patient medical files are critical for the purposes of prescribing controlled

substances because they “distinguish[] the practice of medicine from drug dealing.

Absent medical documentation, . . . the dispensing of controlled substances in type

and amounts requested by patients because patients report satisfaction with the drugs

is no different than any other form of drug dealing.”25

        Evidence that demonstrates Kraynak knew of the documentation required in

medical records when prescribing controlled substances and knowingly failed to

comply with those requirements is thus direct evidence that Kraynak’s conduct was

outside the usual course of professional practice and not for a legitimate medical

purpose. Because evidence of administrative actions taken against Kraynak “directly

proves the charged offense, it is not evidence of some ‘other’ crime” and is

admissible as intrinsic evidence that falls outside the bounds of Rule 404(b).26

               ii.    Evidence from Pennsylvania Prescription Drug Monitoring
                      Program

        Next, Kraynak challenges the use of records collected by the Pennsylvania

Prescription Drug Monitoring Program (PDMP) on the ground that PDMP reporting

was not mandatory until January 1, 2017—after the events at issue in this case—




24
     21 C.F.R. § 1306.04(a).
25
     Doc. 60 at 5.
26
     Green, 617 F.3d at 248-49.
                                           8
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and, thus, any data from the PDMP may not be entirely accurate or capture practice

wide information.27

        The PDMP is a database that “collects information on all filled prescriptions

for controlled substances” issued within Pennsylvania.28 The PDMP has long

required that dispensers of controlled substances report all Schedule II substances

dispensed within the state, but in 2014 a law was passed “which requires monitoring

Schedule II through Schedule V controlled substances.”29 Finally, “[a]s of January

1, 2017, dispensers are required to collect and submit [relevant] information to the

PDMP no later than the close of the subsequent business day.”30

        The Government asserts that investigators obtained PDMP data which

demonstrates “that from May of 2012 until the end of January 2016, Kraynak

prescribed 3,622,598 Oxycodone pills” and “from January 1, 2016 through July 31,

2017, Kraynak prescribed an aggregate of 2,792,490 dosage units of oxycodone,

hydrocodone, OxyContin and fentanyl to approximately 2,838 patients,” making

“Kraynak the top prescriber for all of the Commonwealth of Pennsylvania for these

controlled substances during that 19-month period.”31 This data also reveals that



27
     Doc. 138 at 3-4.
28
     Pennsylvania Department of Health, Prescription Drug Monitoring Program (PDMP),
     https://www.health.pa.gov/topics/programs/PDMP/Pages/PDMP.aspx (last visited July 28,
     2021).
29
     Pennsylvania Department of Health, PDMP Questions & Answers (Q&A),
     https://www.health.pa.gov/topics/programs/PDMP/Pages/QA.aspx (last visited July 28,
     2021).
30
     Id.
31
     Doc. 140 at 8.
                                               9
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some patients were issued multiple prescriptions on a single day, and sought early

prescription refills.32

        This evidence demonstrates that Kraynak prescribed significant quantities of

controlled substances to his patients, which “directly proves the charged offense”

and therefore constitutes intrinsic evidence,33 as this evidence is relevant to the

question of whether Kraynak issued prescriptions outside the usual course of

professional practice and not for a legitimate medical purpose. As the United States

Court of Appeals for the Ninth Circuit has emphasized, “uncharged prescriptions of

controlled substances in enormous quantities, and in dangerous combinations,

support a reasonable inference that the underlying prescriptions were issued outside

the usual course of professional practice and without a legitimate medical

purpose.”34

        In similar circumstances, the United States Court of Appeals for the Eleventh

Circuit considered whether the district court erred in admitting “more than 33,000

prescriptions for controlled substances [relating to both charged and uncharged

conduct] . . . and a chart summarizing these prescriptions” in the prosecution of a

doctor for Medicaid fraud and dispensing controlled substances in violation of the

Controlled Substances Act.35 That court determined that the evidence of

32
     Doc. 136-1 at 21-22.
33
     Green, 617 F.3d at 248-49.
34
     United States v. Lague, 971 F.3d 1032, 1040 (9th Cir. 2020), cert. denied, 141 S. Ct. 1695
     (2021).
35
     United States v. Merrill, 513 F.3d 1293, 1300 (11th Cir. 2008).
                                              10
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prescriptions “was relevant and that its probative value was not outweighed by its

potential for prejudice.”36 The Court determined that the evidence that admissible

because, as relevant here, “the Government could only prove [the prescription of]

‘excessive and inappropriate quantities and combinations’ [of controlled substances]

by presenting evidence on the quantities and combinations themselves and then

comparing those quantities and combinations to a relevant norm to show that they

were excessive and inappropriate.”37

        Here, PDMP-derived evidence permits the jury to evaluate Kraynak’s

prescription practices as a whole and compare those prescriptions to other physicians

within the state. This is important for the jury to evaluate whether the prescriptions

issued by Kraynak were appropriate, or whether those prescriptions were excessive

and therefore outside the usual course of professional practice and without a

legitimate medical purpose.

        Kraynak nevertheless argues that the PDMP evidence is not admissible

because mandatory reporting requirements were not put into effect until January 1,

2017, after the time period at issue in this case, and therefore the PDMP data may

be misleading and may fail to capture practice wide information.38 The Court cannot

conclude at this time—based on the available evidence—that PDMP data from the

time frame at issue does not accurately capture practice wide prescription data.


36
     Id. at 1301.
37
     Id. at 1302.
38
     Doc. 138 at 3-4.
                                         11
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Among other laws, the 2014 Achieving Better Care by Monitoring All Prescriptions

Program Act required that “[a] dispenser or pharmacy shall, according to the format

determined by the board, electronically submit information to the system regarding

each controlled substance dispensed.”39 Prior to 2014, “[t]he PDMP [still] required

the reporting of Schedule II controlled substances.”40 There is no available evidence

that would permit the Court to conclude that PDMP data that was required to be

submitted prior to 2017 is incomplete or inaccurate such that it fails to capture

practice wide information. Because there is no information that undermines that

accuracy of the PDMP data that the Government intends to present at trial,

Kraynak’s motion will be denied, although the Court may revisit this ruling upon

appropriate motion from Kraynak should the evidence proffered at trial fail to

demonstrate that PDMP data is accurate and reliable.

              iii.   Pharmacy Records

        Next, Kraynak argues that pharmacy records should also be excluded because

records which demonstrate that Kraynak was the largest provider of opioids in

Pennsylvania are irrelevant given that he “was one of the few family practice doctors

in that part of coal country at the time of this incident,” and because a patient’s




39
     HEALTH AND SAFETY—PRESCRIPTION DRUG MONITORING PROGRAM, 2014 Pa.
     Legis. Serv. Act 2014-191 (S.B. 1180) (PURDON'S) (emphasis added).
40
     Pennsylvania Department of Health, PDMP Questions & Answers (Q&A),
     https://www.health.pa.gov/topics/programs/PDMP/Pages/QA.aspx (last visited July 28,
     2021).
                                               12
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request for early prescription refills is irrelevant to Kraynak’s conduct in issuing

those prescriptions.41

        The Government asserts that, at trial, it intends to introduce pharmacy records

from local pharmacies that filled prescriptions issued by Kraynak between January

1, 2014 and November 11, 2015, including records “maintained by Walmart,

RiteAid, CVS, Medicine Shoppe, Belski Community Pharmacy, and Burch’s

Pharmacy, among others.”42 The data obtained from those pharmacies reveals that,

for several pharmacies, Kraynak was by far the top prescriber of Schedule II

controlled substances. At Belski Community Pharmacy, 54% of Schedule II

controlled substances were prescribed by Kraynak, with the second highest

prescriber accounting for 11.5% of such prescriptions.43 Similarly, at RiteAid

Pharmacy #2478, Kraynak accounted for 42.7% of Schedule II prescriptions, while

the second highest prescriber accounted for 3.5% of those prescriptions, at RiteAid

Pharmacy #205, Kraynak accounted for 37.5% of Schedule II prescriptions, while

the second highest prescriber accounted for 5.3% of such prescriptions, and at a CVS

pharmacy, Kraynak accounted for 25% of Schedule II prescriptions, while the

second highest prescriber of such substances accounted for 8.4% of prescriptions.44

Law enforcement also discovered that Kraynak’s patients frequently tried to obtain



41
     Doc. 138 at 4-6.
42
     Doc. 140 at 8-9.
43
     Doc. 136-1 at 20-21.
44
     Id.
                                           13
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early refills of Schedule II controlled substances, Kraynak often issued prescriptions

days apart, and pharmacies regularly refused to fill prescriptions written by

Kraynak.45

        Records that permit a comparison of Kraynak’s prescription habits to those of

other doctors in the same region constitute intrinsic evidence. Were the jury to

conclude that Kraynak issued prescriptions of Schedule II controlled substances in

quantities that vastly outstripped any other physician in the region, it could

reasonably infer “that the underlying prescriptions were issued outside the usual

course of professional practice and without a legitimate medical purpose.”46 Because

that evidence “directly proves” an element of the charged offenses, it does not fall

under Rule 404(b), and it is admissible.47

        Kraynak nevertheless argues that such records are irrelevant, since there are

few family medicine practitioners in the region where Kraynak practiced.48

However, Kraynak ignores that the data comes directly from local pharmacies and

therefore captures data on a local—not state—level. The data thus accounts for any

decrease in the number of local practitioners. Were Kraynak’s prescription numbers

artificially inflated due to the absence of other doctors in the region, one would

expect to find that the second most active prescriber of Schedule II controlled



45
     Id. at 20.
46
     Lague, 971 F.3d at 1040.
47
     Green, 617 F.3d at 248-49.
48
     Doc. 138 at 5.
                                          14
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substances in the region would likewise account for a large percentage of each

pharmacy’s prescriptions, but the data shows the opposite. Thus, the data remains

relevant and admissible.

      Finally, the Court cannot at this time agree with Kraynak’s assertion that

evidence which reveals that his patients routinely sought early prescription refills is

irrelevant. Admittedly, the relevance of such evidence is not immediately clear.

However, it could be, for example, that evidence that individuals frequently seek

early refills of their opioid prescriptions is a sign of drug abuse that should indicate

to a physician that he should cease issuing prescriptions to that patient. If Kraynak

were to have ignored such signs of abuse, it could indicate that the prescriptions he

issued were outside the usual course of professional practice and without a legitimate

medical purpose. Accordingly, the Court will deny Kraynak’s motion with respect

to any mention of early prescription refills, without prejudice to his right to reassert

this motion when a more complete picture of the evidence is available to the Court.

             iv.    Referrals from Medical Insurers

      Next, Kraynak contends that evidence related to an investigation conducted

by Anthem Blue Cross Blue Shield (“Anthem”) should be excluded because that

investigation covers only information within Anthem’s network, and thus may be

prejudicial and misleading. He further asserts that information from Health Integrity,

LLC (“Health Integrity”) should be excluded because its algorithm—designed to



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spot potential Medicare fraud—constitutes expert opinion and is highly prejudicial,

as the jury may “believe that a computer has already done its work for them.”49

        With respect to the evidence compiled by Anthem during its investigation into

Kraynak’s prescription patterns, that investigation revealed that, between January

2012 and November 2014, Kraynak prescribed 54,820 medications, with 39% of

those prescriptions issued for controlled substances.50 Furthermore, Kraynak

prescribed dangerous combinations of controlled substances, and prescribed far

greater quantities of controlled substances than did other family medicine physicians

both within Pennsylvania and nationally—his rate of prescription for controlled

substances was more than four and one-half times the rate of other physicians within

Pennsylvania, and well over three times the rate of other physicians nationally.51

Moreover, several controlled substances were in the top ten prescriptions issued by

Kraynak, while none were in the top ten prescriptions issued by other family

medicine practitioners in Pennsylvania.52

        This evidence is intrinsic to the charges as, again, it tends to demonstrate that

Kraynak issued “prescriptions of controlled substances in enormous quantities, and

in dangerous combinations” and issued prescriptions in levels far beyond other

family practitioners, which “support[s] a reasonable inference that the underlying



49
     Doc. 138 at 8; see id. at 6-9.
50
     Doc. 136-3 at 1.
51
     Id.
52
     Id.
                                            16
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prescriptions were issued outside the usual course of professional practice and

without a legitimate medical purpose.”53 Because this directly proves an element of

the offenses charged, it too falls outside the ambit of Rule 404(b) and is admissible.

        Kraynak asserts that the evidence is nonetheless inadmissible because it

presents only a small portion of the prescriptions that were issued in Pennsylvania,

and therefore may be incomplete and may have the tendency to mislead the jury.54

First, there is no indication in the record that this evidence is actually incomplete or

misleading, as Anthem’s data generally comports with PDMP data that shows

Kraynak was a top prescriber of controlled substances. Second, any prejudice that

could result from the presentation of this evidence may be mitigated through

appropriate jury instructions and vigorous cross-examination by defense counsel.

        As to evidence of a referral from Health Integrity to the Drug Enforcement

Agency, Health Integrity—a Medicare Drug Integrity Contractor—was contracted

to attempt to detect fraud, waste, and abuse in the Medicare Part D program.55 Using

its “Pill Mill Doctors Proactive Analysis Model,” Health Integrity assigned Kraynak

a predicted risk score of 977 on a scale of 1-1000 for overprescribing controlled

substances.56




53
     Lague, 971 F.3d at 1040.
54
     Doc. 138 at 6-7.
55
     Doc. 131 at 12.
56
     Id.
                                          17
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        Based on the available evidence, the Court is unable to conclude that this

evidence is intrinsic to the charges levied against Kraynak, or that the evidence is

relevant to those charges. The Government has provided no information whatsoever

with respect to Health Integrity’s algorithm, how it operates, what factors the

algorithm considers, or how those factors are relevant to the Government’s case or

to the elements of the charges against Kraynak. Notably, the Government does not

offer any explicit defense of this evidence or explain how it is intrinsic or relevant

to the charges.57 Accordingly, the Court will conditionally grant Kraynak’s motion

in limine as to this evidence, but may reconsider this ruling at trial should the

Government offer a more thorough explanation of the algorithm and better connect

this evidence to the charges against Kraynak.

                v.      Evidence Related to Combinations of Prescriptions

        Finally, Kraynak asserts that the Government should not be permitted to

reference the “nicknames given by street dealers” to certain controlled substances,

as such nicknames are highly prejudicial and inflammatory.58 Although Kraynak

asserts in conclusory fashion that these nicknames are highly prejudicial, he does not

explain how these nicknames are prejudicial. The majority of the nicknames that this



57
     See Docs. 131, 140.
58
     Doc. 138 at 9-10. It is not entirely clear to which nicknames Kraynak refers since there is no
     citation in his brief or any direct reference to those nicknames in that brief. It is possible that
     Kraynak is referring to the terms “Houston Cocktail” and “Holy Trinity” discussed in
     Anthem’s investigation. Doc. 136-3 at 1. The Government believes that Kraynak is referring
     to the terms “pill mill” and “cocktails.” Doc. 140 at 35-36.
                                                    18
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Court has located in the record are not common parlance and are not likely to be

known by the jury and, thus, likely do not carry negatives connotations with the jury.

Absent some indication of prejudice, the Court cannot conclude that any unfair

prejudice substantial outweighs the probative value of this evidence. Consequently,

Kraynak’s motion in limine will be conditionally denied as to his request to exclude

the use of certain nicknames.

        B.      Admissibility Under Rule 404(b)

        Finally, the Court concludes that, even if the above-mentioned evidence were

extrinsic, it would be admissible under Rule 404(b). Federal Rule of Evidence 404(b)

prohibits the introduction of “[e]vidence of a crime, wrong, or other act . . . to prove

a person’s character,” but permits the introduction of such evidence if it is used “for

another purpose, such as proving motive, opportunity, intent, preparation, plan,

knowledge, identity, absence of mistake, or lack of accident.” The Third Circuit has

repeatedly emphasized that “Rule 404(b) is a rule of general exclusion, and carries

with it no presumption of admissibility.”59 “It must be applied with careful precision,

and evidence of a defendant’s prior bad acts is not to be admitted unless both the

proponent and the District Court plainly identify a proper, non-propensity purpose

for its admission.”60 Thus,

        The proponent of Rule 404(b) evidence carries the burden to meet a
        four-step test: (1) the other-acts evidence must be proffered for a non-
        propensity purpose; (2) that evidence must be relevant to the identified
59
     United States v. Foster, 891 F.3d 93, 107 (3d Cir. 2018) (internal quotation marks omitted).
60
     Id. (ellipsis and internal quotation marks omitted).
                                                  19
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        non-propensity purpose; (3) its probative value must not be
        substantially outweighed by its potential for causing unfair prejudice to
        the defendant; and (4) if requested, the other-acts evidence must be
        accompanied by a limiting instruction.61

        Here, the Government has satisfied its burden of demonstrating admissibility

under Rule 404(b). First, as to evidence related to Kraynak’s practice wide

prescriptions, that evidence is being proffered for a non-propensity purpose. As

discussed previously, evidence that demonstrates Kraynak prescribed significant

quantities of controlled substances is probative of his “unlawful intent”62 and may

be offered to demonstrate that Kraynak “exceeded the legitimate bounds of medical

practice” and “as evidence of a plan, design, or scheme.”63 Similarly, the evidence

related to “prescriptions of controlled substances in enormous quantities, and in

dangerous combinations, support a reasonable inference that the underlying

prescriptions were issued outside the usual course of professional practice and

without a legitimate medical purpose”64 and is thus relevant to the aforementioned

non-propensity purposes.65

        Further, the probative value of that evidence is not substantially outweighed

by any prejudicial effect, for many of the reasons discussed above. The evidence that



61
     Id. at 107-08 (internal quotation marks omitted).
62
     Lague, 971 F.3d at 1040.
63
     Merrill, 513 F.3d at 1303.
64
     Lague, 971 F.3d at 1040.
65
     Likewise, “the proffered evidence would allow a ‘jury [to] reasonably conclude that the [prior]
     act occurred and that the defendant was the actor.’” Foster, 891 F.3d at 108 (quoting
     Huddleston v. United States, 485 U.S. 681, 689 (1988)).
                                                 20
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the Government seeks to introduce could reasonably indicate to the jury that, as a

whole, Kraynak’s prescription practices were outside the usual course of

professional practice and without a legitimate medical purpose, which

correspondingly reduces the chances that the prescriptions at issue in the charges

here were issued within the bounds of the law. The jury further could reasonably

infer that so many of Kraynak’s patients would not require such large quantities of

controlled substances and in such dangerous combinations, or combinations that are

well known for increasing a high gained from illicit use of these substances. I note,

as well, that an appropriate limiting instruction will be issued, if requested.

Consequently, the relevant factors weigh in favor of admitting this evidence under

Rule 404(b).

      Second, with respect to evidence of administrative actions, as discussed

above, that evidence demonstrates that Kraynak knew of the medical standards that

are applicable to patient records and prescription practices, which is relevant to the

question of whether Kraynak’s actions were outside the usual course of professional

practice and not for a legitimate medical purpose. It is therefore clear that the

Government may introduce that evidence for a non-propensity purpose, and that the

evidence is relevant to that non-propensity purpose. Although there will undoubtedly

be some prejudicial impact from this evidence, the evidence is highly probative of

Kraynak’s knowledge of the requirements for prescribing controlled substances and,

thus, of whether Kraynak was acting within the usual course of professional practice
                                         21
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and for a legitimate medical purpose when he issued those prescriptions, or whether

he was simply engaged in a “form of drug dealing.”66 The probative value of that

evidence is not substantially outweighed by its potential to cause unfair prejudice,

particularly because the Court will issue an appropriate limiting instruction, if

requested. Consequently, the proffered evidence, even if extrinsic to the charges,

would be admissible under Rule 404(b), and Kraynak’s motion in limine will be

denied except as to any information related to the referral from Health Integrity.

III.    CONCLUSION

        For the foregoing reasons, the Court concludes that, with the exception of the

referral from Health Integrity, the evidence that Kraynak seeks to exclude appears

admissible. Accordingly, consistent with the above discussion, Kraynak’s motion in

limine will be granted in part and denied in part.

        An appropriate Order follows.




                                               BY THE COURT:


                                               s/ Matthew W. Brann
                                               Matthew W. Brann
                                               Chief United States District Judge




66
     Doc. 60 at 5.
                                          22
